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               UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TEXAS
                         EL PASO DIVISION

USA                                     §
                                        §
vs.                                     § No: EP:24-CR-01724(3)-DCG
                                        §
(3) Oscar Martinez                      §

        ORDER APPROVING AND ADOPTING REPORT &
       RECOMMENDATION AND ACCEPTING GUILTY PLEA

      On this day, the Court considered the Report and Recommendation of

the United States Magistrate Judge filed in the above-captioned cause.

Pursuant to 28 U.S.C. § 636(b), this Court referred this cause to the

Magistrate Judge to administer a guilty plea in accordance with Federal Rule

of Criminal Procedure 11. Defendant consented to the administration of the

guilty plea and allocution by the Magistrate Judge.

      Having reviewed the Report and Recommendation, and there being no

objection to the Report and Recommendation timely filed pursuant to 28

U.S.C. § 636(b), the Court finds that the Report and Recommendation is

neither clearly erroneous nor contrary to law. Consequently, the Court is of

the opinion that the Report and Recommendation should be approved and

adopted, and Defendant’s guilty plea should be accepted.

      Accordingly,   IT   IS   HEREBY    ORDERED      that      the   Report    and

Recommendation of the United States Magistrate Judge is APPROVED and

ADOPTED.
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IT IS FURTHER ORDERED that Defendant’s guilty plea is ACCEPTED.

IT IS SO ORDERED this 14th day of February, 2025.



                                ______________________________
                                HON. DAVID C GUADERRAMA
                                SENIOR UNITED STATES DISTRICT
                                JUDGE
